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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

STACY MILLER,                                 *
                                              *
       Plaintiff                              *
                                              *
       v.                                     * Case Number: 2:17-cv-144
                                              *
CITY OF DARIEN                                *
                                              *
       Defendant                              *


                   STATUS UPDATE REGARDING SETTLEMENT

       Pursuant to the Court’s instructions in its January 27, 2020 order, the parties

write to update the Court as to the status of their settlement. The City of Darien shows

that it has complied with all of its non-monetary obligations under the settlement

agreement announced in Court on January 24, 2020, to wit: (1) the February 3, 2016

written reprimand has been removed from Plaintiff’s personnel file; (2) Chief Howard

has written, signed, and dated a positive letter of recommendation for Plaintiff; (3) a

notation has been appended to Plaintiff’s personnel file instructing anyone providing an

employment reference to do nothing more than verify dates of employment and that

Plaintiff was eligible for rehire at the time of her resignation; and (4) POST has been

notified that Plaintiff’s rank at the time of her resignation was Sergeant. Plaintiff has

been provided with documentation that these tasks have been completed.

       Unfortunately, the adjuster handling this matter for the City’s risk management

fund unexpectedly departed, causing a delay in the issuance of settlement checks.
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Undersigned counsel for the City was informed by the new adjuster that the settlement

checks were overnighted on February 24, 2020. The parties anticipate that the settlement

funds will be distributed, and a dismissal will be filed, no later than February 28, 2020.



       Respectfully submitted, this twenty-fourth day of February, 2020.



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